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 4                              IN THE UNITED STATES DISTRICT COURT
 5                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                     )
                                                   )      CR. No. S-05-155 LKK
 8                       Plaintiff,                )
                                                   )
 9                  v.                             )
                                                   )      TIME EXCLUSION ORDER
10   ARIEL ANTONIO GAETE-ROIG,                     )
     et al.,                                       )
11                                                 )
                       Defendants.                 )
12   ______________________________                )
13           Upon motion of both parties, the Court continues the next status conference in this case to
14   September 27, 2005 at 9:30 a.m.. Robert Forkner has recently substituted as counsel for Eduardo
15   Zazueta Garcia. According to the counsel, such continuance is necessary for counsel adequately
16   to review the discovery provided by the government and to conduct further investigation in the
17   case. Thus, the requested continuance is for effective and diligent preparation.
18           The Court finds that the interests of justice served by granting this continuance outweigh
19   the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(8)(A),
20   3161(h)(8)(B)(iv), and time, therefore, will be excluded from September 7, 2005 through
21   September 27, 2005.
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24   DATE:          September 9, 2005                     /s/ Lawrence K. Karlton
                                                          HON. LAWRENCE K. KARLTON
25                                                        U.S. DISTRICT JUDGE
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